Filed 04/21/22                                            Case 20-25057                                         Doc 341



                                            UNITED STATES BANKRUPTCY COURT
                                             EASTERN DISTRICT OF CALIFORNIA


            In re:                                             §       Case No. 20-25057
                                                               §
            DAVID S FLETCHER                                   §
                                                               §
                                                               §
                                              Debtor(s)        §

                                     NOTICE OF TRUSTEE’S FINAL REPORT AND
                                        APPLICATION FOR COMPENSATION
                                         AND DEADLINE TO OBJECT (NFR)

                   Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Kimberly
           Husted, trustee of the above styled estate, has filed a Final Report and the trustee and the
           trustee’s professionals have filed final fee applications, which are summarized in the attached
           Summary of Trustee’s Final Report and Applications for Compensation.

                   The complete Final Report and all applications for compensation are available for
           inspection at the Office of the Clerk, at the following address:

                     501 I Street, Ste 3-200, Sacramento, CA 95814

                   Any person wishing to object to any fee application that has not already been approved or
           to the Final Report, must file a written objection within 21 days from the mailing of this notice,
           together with a request for a hearing and serve a copy of both upon the trustee, any party whose
           application is being challenged and the United States Trustee. If no objections are filed, the
           Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
           without further order of the Court.

           Date:              04/21/2022                           By: /s/ Kimberly Husted
                                                                       Trustee
           Kimberly Husted
           11230 Gold Express Drive, Ste 310-411
           Gold River, CA 95670




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                                                UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF CALIFORNIA


               In re:                                                              §           Case No. 20-25057
                                                                                   §
               DAVID S FLETCHER                                                    §
                                                                                   §
                                                                                   §
                                                Debtor(s)                          §

                                             SUMMARY OF TRUSTEE’S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION

                        The Final Report shows receipts of                                                                                  $347,777.36
                        and approved disbursements of                                                                                        $30,299.29
                        leaving a balance on hand of 1:                                                                                     $317,478.07


                        Claims of secured creditors will be paid as follows:

           Claim            Claimant                                     Claim                Allowed                 Interim                    Proposed
           No.                                                         Asserted              Amount of             Payments to                    Amount
                                                                                                Claim                    Date
                         1 TD Auto Finance                          $14,715.71               $14,715.71                        $0.00                       $0.00
                           LLC
                         7 TD Auto Finance                          $14,725.13               $14,725.13                        $0.00                       $0.00
                           LLC
                        17 CITIBANK, N.A.                         $134,894.18              $134,894.18                         $0.00                       $0.00
                        19 Ford Motor Credit                        $12,236.76               $12,236.76                        $0.00                       $0.00
                           Company LLC


                                                               Total to be paid to secured creditors:                                             $0.00
                                                                                 Remaining balance:                                         $317,478.07

                        Applications for chapter 7 fees and administrative expenses have been filed as follows:

           Reason/Applicant                                                                      Total                Interim                    Proposed
                                                                                             Requested             Payments to                   Payment
                                                                                                                         Date
           Kimberly Husted, Trustee Fees                                                     $20,638.87                        $0.00           $20,638.87
           Kimberly Husted, Trustee Expenses                                                      $209.03                      $0.00                $209.03


           1
             The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will be
           distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum
           compensation set forth under 11 U.S.C. § 326(a) on account of disbursement of the additional interest.
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           Payment per order #332 for fees , Attorney for            $23,167.72       $23,167.72             $0.00
           Trustee Fees
           Payment per order #332 for expenses, Attorney              $1,044.50           $1,044.50          $0.00
           for Trustee Expenses
           Payment of fees per order ecf 339, Accountant              $3,978.50           $3,978.50          $0.00
           for Trustee Fees
           Payment of expenses per order ecf 339,                         $99.49            $99.49           $0.00
           Accountant for Trustee Expenses


                               Total to be paid for chapter 7 administrative expenses:                 $20,847.90
                                                                  Remaining balance:                  $296,630.17

                  Applications for prior chapter fees and administrative expenses have been filed as
           follows: NONE



                            Total to be paid to prior chapter administrative expenses:                      $0.00
                                                                  Remaining balance:                  $296,630.17

                  In addition to the expenses of administration listed above as may be allowed by the
           Court, priority claims totaling $34,832.16 must be paid in advance of any dividend to general
           (unsecured) creditors.

                    Allowed priority claims are:

           Claim         Claimant                                Allowed Amt.          Interim           Proposed
           No.                                                        of Claim      Payments to          Payment
                                                                                          Date
                      6 Employment Development                       $33,901.25              $0.00      $33,901.25
                        Department
                    13 FRANCHISE TAX BOARD                              $930.91              $0.00        $930.91


                                                   Total to be paid to priority claims:                $34,832.16
                                                                  Remaining balance:                  $261,798.01

                   The actual distribution to wage claimants included above, if any, will be the proposed
           payment less applicable withholding taxes (which will be remitted to the appropriate taxing
           authorities).

                    Timely claims of general (unsecured) creditors totaling $319,073.93 have been allowed
           and will be paid pro rata only after all allowed administrative and priority claims have been paid
           in full. The timely allowed general (unsecured) dividend is anticipated to be 82.0 percent, plus
           interest (if applicable).

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                    Timely allowed general (unsecured) claims are as follows:

           Claim         Claimant                                Allowed Amt.         Interim        Proposed
           No.                                                        of Claim     Payments to        Amount
                                                                                         Date
                      2 Hanmi Bank                                   $48,501.81          $0.00      $39,795.41
                      3 County of Sacramento - Revenue               $13,614.50          $0.00      $11,170.61
                        Recovery
                      4 Capital One Bank (USA), N.A.                  $5,637.87          $0.00       $4,625.83
                      5 Capital One Bank (USA), N.A.                  $4,695.93          $0.00       $3,852.98
                    6a Employment Development                        $29,167.13          $0.00      $23,931.43
                       Department
                      8 JPMorgan Chase Bank, N.A.                    $29,702.28          $0.00      $24,370.52
                      9 Aladdin Bail Bonds                            $1,115.00          $0.00         $914.85
                    10 RC Willey Financial Services                  $12,238.95          $0.00      $10,041.98
                    11 Citibank, N.A.                                 $7,027.87          $0.00       $5,766.32
                    12 Department Stores National Bank               $15,012.75          $0.00      $12,317.86
                   13a FRANCHISE TAX BOARD                            $1,026.36          $0.00         $842.12
                    14 Citibank, N.A.                                 $7,926.22          $0.00       $6,503.41
                    15 Citibank, N.A.                                 $5,574.14          $0.00       $4,573.54
                    16 Aladdin Bail Bonds                                 $0.00          $0.00           $0.00
                    18 BMW Financial Services Attn:                  $80,561.33          $0.00      $66,100.03
                       Customer Accounting
                    20 Synchrony Bank                                 $2,989.01          $0.00       $2,452.46
                    21 Ascentium Capital LLC                         $50,340.70          $0.00      $41,304.21
                    22 Site One Landscape Supply                      $3,942.08          $0.00       $3,234.45


                                  Total to be paid to timely general unsecured claims:           $261,798.01
                                                                  Remaining balance:                   $0.00

                   Tardily filed claims of general (unsecured) creditors totaling $29,029.26 have been
           allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
           general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
           to be 0.0 percent, plus interest (if applicable).

                    Tardily filed general (unsecured) claims are as follows:

           Claim         Claimant                                Allowed Amt.         Interim        Proposed
           No.                                                        of Claim     Payments to        Amount
                                                                                         Date
                    23 PNC Equipment Finance Company,                $29,029.26          $0.00           $0.00

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                         LLC


                            Total to be paid to tardily filed general unsecured claims:                        $0.00
                                                                   Remaining balance:                          $0.00

                    Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
           ordered subordinated by the Court totaling $171,539.17 have been allowed and will be paid pro
           rata only after all allowed administrative, priority and general (unsecured) claims have been paid
           in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus
           interest (if applicable).

                  Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
           ordered subordinated by the Court are as follows:

           Claim         Claimant                                 Allowed Amt.           Interim            Proposed
           No.                                                         of Claim       Payments to            Amount
                                                                                            Date
                    6b Employment Development                        $171,539.17              $0.00              $0.00
                       Department


                                             Total to be paid for subordinated claims:                         $0.00
                                                                   Remaining balance:                          $0.00




                                                     Prepared By: /s/ Kimberly Husted
                                                                  Trustee

           Kimberly Husted
           11230 Gold Express Drive, Ste 310-411
           Gold River, CA 95670




           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. § 1320.4(a)(2) applies.




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